
29 A.3d 996 (2011)
422 Md. 346
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Hilary Marlene NEIMAN, Respondent.
Misc. Docket AG No. 42, September Term, 2011.
Court of Appeals of Maryland.
October 6, 2011.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Hilary Marlene Neiman, to disbar the Respondent by consent from the practice of law.
The Court having considered the Petition, it is this 6th day of October, 2011,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Hilary Marlene Neiman, be, and she is hereby, disbarred by consent from the practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Hilary Marlene Neiman from the register of attorneys in the Court and certify that fact to the Client Protection Fund and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-773(d).
